                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                  AT JACKSON


 MCKENZIE MEDICAL CENTER, PC )
 and WMC PARTNERSHIP, LLC,   )
                             )
      Plaintiffs,            )
                             )                      Case No. 1:23-cv-01045-JDB-jay
 vs.                         )
                             )                      Removal from Weakley Co. Chancery
 SELECTIVE INSURANCE COMPANY )                      Court, Case No. 25549
 OF SOUTH CAROLINA,          )
                             )
      Defendant.             )

   DEFENDANT SELECTIVE INSURANCE COMPANY OF SOUTH CAROLINA’S
   MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       For its Memorandum of Law in Support of its Motion for Summary Judgment, Selective

Insurance Company of South Carolina (“Selective”) states:

                                  PROCEDURAL HISTORY

       On February 17, 2023, McKenzie Medical Center, PC and WMC Partnership, LLC

(collectively “Counter-Defendants”) filed their Request for Umpire Selection (“Complaint”)

against Selective in the Chancery Court of Weakley County, Tennessee.         On March 27, 2023,

Selective timely removed the suit from the Chancery Court of Weakley County, Tennessee to this

Federal Court [Doc. No. 1]. On April 27, 2023, Selective filed its Answer and Counter Claims

Against Plaintiffs. [Doc. No. 14]. In the countercomplaint, Selective asserted four different claims

for declaratory judgment related to coverage disputes arising under the insurance policy. [Id.].

Count one seeks a declaration from the Court that there is no coverage for business income losses.

Count two seeks a declaration from the Court that Counter-Defendants’ business personal property

claim is limited by their neglect and failure to mitigate. Count three seeks a declaration from the
Court that Counter-Defendants are not entitled to replacement cost value under the Policy. And

count four seeks a declaration from the Court that Counter-Defendants breached the Policy and

thus are not entitled to the appraisal process. Counter-Defendants did not, and as of the time of

the filing of this Motion have not, filed an answer to the Countercomplaint.

       On May 9, 2023, pursuant to Local Rule 16.2, the Court held a scheduling conference.

During the scheduling conference, Selective proposed that this matter be bifurcated into two

separate phases. The first phase of the case would deal with the insurance coverage issues asserted

in Selective’s counterclaims. Following the resolution of the coverage issues, the case would then

proceed to phase 2 where the Court would address the issue of the appointment of an umpire, if

necessary. The Court agreed with Selective’s proposed bifurcation of this case and entered a

Scheduling Order reflecting the same. [Doc. No. 17]. The Court also included in the scheduling

order various deadlines for each phase of the case, including initial disclosure deadlines, expert

witness disclosure deadlines, and discovery deadlines. [Id.].

       Since the entry of the Scheduling Order, Counter-Defendants have continually failed to

comply with deadlines established by the Rules of Civil Procedure and the Scheduling Order.

First, as mentioned above, Counter-Defendants have not filed an answer or response to Selective’s

counterclaims.

       Second, the Scheduling Order required the parties to exchange initial disclosures on or

before May 23, 2023. [Id.]. While Selective served its initial disclosures by the stated deadline,

Counter-Defendants failed to do so and, as of the time of the filing of his Motion, have still not

served initial disclosures.

       Third, as explained below, Counter-Defendants have failed to meaningfully partake in the

discovery process. On June 6, 2023, Selective served Defendant’s 1st Set of Interrogatories,




                                                2
Requests for Production of Documents, and Requests for Admission to Plaintiffs. [See Exhibit A

to Statement of Material Facts (hereinafter “SOMF”)]. Per the Federal Rules of Civil Procedure,

Counter-Defendants responses to these discovery requests were due on or before July 7, 2023.

Counter-Defendants failed to timely serve responses to the discovery requests, including the

requests for admission. As a result of Counter-Defendant’s failure to serve responses to the

requests for admission, those requests are deemed admitted for all purposes pursuant to Federal

Rule of Civil Procedure 36.      Regarding the interrogatories and requests for production of

documents, Selective was forced to file a Motion to Compel after Counter-Defendants continued

failure to provide the responses. [See Doc. No. 20]. The Court granted the Motion to Compel on

September 6, 2023. [Doc. No. 26].

       On August 11, 2023, in response to Selective’s Motion to Compel, Counter-Defendants

served purported responses to Selective’s interrogatories, requests for production of documents,

and requests for admission. [See Exhibit B to SOMF]. Prior to serving the responses to the requests

for admission, Counter-Defendants neither moved the Court, nor received from the Court,

permission to withdraw the admissions and serve responses. As a result, the service of responses

to the requests for admission are a nullity and the admissions are still deemed admitted for all

purposes under the rules. See Fed. R. Civ. P. 36. Further, the purported responses to the

interrogatories and requests for production of documents did not comply with the Federal Rules

of Civil Procedure, were evasive and non-responsive, and Counter-Defendants failed to produce a

single document in response to Selective’s requests for production of documents. [See Exhibit B

to SOMF]. In conjunction with the service of the purported discovery responses, Counter-

Defendants also filed a one-page Response to Motion to Compel. [Doc. No. 22]. The Response

claimed that Counter-Defendants responded to the interrogatories and requests for production of




                                                3
documents, that the delay in providing response was due to an automobile accident of an unnamed

third-party contractor, and that the Motion to Compel is now moot. [Doc. No. 22]. On August 11,

2023, Selective moved the Court for leave to file a reply brief in support of the Motion to Compel.

[Doc. No. 23]. This motion was granted and Selective filed its reply on August 16, 2023. [Doc.

Nos. 24 and 25]. On September 6, 2023, the Court granted Selective’s Motion to Compel. [Doc.

No. 26]. In this Order, the Court required Counter-Defendants to serve Rule 26(a)(1) initial

disclosures within fourteen (14) days of the date of the entry of the Order. [Id.]. This Court

likewise found that because Counter-Defendants’ purported discovery responses were wholly

inadequate and violative of not only the letter but also the spirit of the Rules of Civil Procedure,

any objections to the discovery requests had been waived. [Id.]. The Court ordered Counter-

Defendants to provide responses to the interrogatories and requests for production of documents

within twenty-one days of the date of the entry of the Order. [Id.]. Counter-Defendant’s refusal

to partake in the discovery process is prejudicial to Selective’s ability to comply with certain of

the deadlines in the Court’s Scheduling Order.

       Finally, the Scheduling Order required Counter-Defendants (or any party with the burden

of proof) to disclose expert witnesses by August 11, 2023. [Doc. No. 17]. Counter-Defendants

failed to disclose any expert witnesses, including experts related to their claim for business

interruption expenses and damaged business personal property under the Policy, by the stated

deadline of August 11, 2023.

                                             FACTS

  I.   THE POLICY

       Selective issued a Businessowners Coverage Policy, Policy No. S 2112243, to named

insureds McKenzie Medical Center, PC and WMC Partnership, LLC (“Counter-Defendants”) with




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a policy period from October 1, 2021 to October 1, 2022 (the “Policy”). The Policy covers the

property located at 136 S. Wilson Street, Dresden TN 38255 (“Subject Property”). [See Exhibit C

to SOMF]. The Policy provides coverage, subject to the Policy’s terms and exclusions, with limits

of $852,958 for the building located on the Subject Property, $200,000 for Business Personal

Property located on the Subject Property, and Business Income / Extra Expense for actual loss

sustained for up to 12 months. [Id.].

         Regarding the valuation of loss resulting from a covered incident, the Policy states:

                d. Except as provided in Paragraphs (2) through (7) below, we will determine the
                value of Covered Property as follows:

                (1)     At replacement cost without deduction for depreciation, subject to the
                        following:
                                                  ***
                         (c) You may make a claim for loss or damage covered by this insurance on
                         an actual cash value basis instead of on a replacement cost basis. In the
                         event you elect to have loss or damage settled on an actual cash value basis,
                         you may still make a claim on a replacement cost basis if you notify us of
                         your intent to do so within 180 days after the loss or damage.

                         (d) We will not pay on a replacement cost basis for any loss or damage:
                                (i) Until the lost or damaged property is actually repaired or re-
                                placed; and
                                (ii) Unless the repair or replacement is made as soon as reasonably
                                possible after the loss or damage.
                                                  ***
                         g. We will pay for covered loss or damage within 30 days after we receive
                         the sworn proof of loss, provided you have complied with all of the terms
                         of this policy, and:

                               (1) We have reached agreement with you on the amount of loss; or

                               (2) An appraisal award has been made.
[Id.].

         The Policy places a duty upon the insured to protect the covered property from further

damage following a covered event. [Id.]. Specifically, the policy states:

         3. Duties In The Event Of Loss Or Damage



                                                  5
                a. You must see that the following are done in the event of loss or damage to
                Covered Property:
                                                     ***
                (4) Take all reasonable steps to protect the Covered Property from further damage,
                and keep a record of your expenses necessary to protect the Covered Property, for
                consideration in the settlement of the claim. This will not increase the Limits of
                Insurance of Section I — Property. How-ever, we will not pay for any subsequent
                loss or damage resulting from a cause of loss that is not a Covered Cause of Loss.
                Also, if feasible, set the damaged property aside and in the best possible order for
                examination.

[Id.]. The Policy likewise contains the following neglect exclusion:

         k. Neglect

            Neglect of an insured to use all reasonable means to save and preserve property
            from further damage at and after the time of loss.
[Id.].

In regard to business income, the Policy provides:

            Business Income
            1. Direct Damage

            We will pay for the actual loss of Business Income you sustain due to the
            necessary suspension of your “operations” during the “period of restoration”.
            The suspension must be caused by direct physical loss of or damage to property
            at the described premises. The loss or damage must be caused by or result from
            a Covered Cause of Loss. With respect to loss of or damage to personal property
            in the open or personal property in a vehicle, the described premises include the
            area within 1000 feet of such premises.

            With respect to the requirements set forth in the preceding paragraph, if you
            occupy only part of a building, your premises mean:

                a. The portion of the building which you rent, lease or occupy;

                b. The area within 1000 feet of the building or within 1000 feet of the
                premises described in the Declarations, whichever distance is greater (with
                respect to loss of or damage to personal property in the open or personal
                property in a vehicle); and

                c. Any area within the building or at the described premises, if that area
                services, or is used to gain access to, the portion of the building which you
                rent, lease or occupy.




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           If the Schedule shows for Business Income:

               a. Actual Loss Sustained, then we will pay the actual loss of Business
               Income that occurs within 12 consecutive months following the date of
               direct physical loss or damage unless optional coverage for 18 or 24
               consecutive months is shown in the Schedule; or

              b. A maximum dollar limit, then we will pay for loss of Business Income
              that occurs within 12 consecutive months following the date of direct
              physical loss or damage, unless optional coverage for 18 or 24 consecutive
              months is shown in the Schedule, subject to the Limit of Insurance shown
              in the Schedule.
                                           ***
           The following applies to all Business Income Additional Coverages:

               1.     Business Income means the:

                      a. Net Income (Net Profit or Loss before income taxes) that would
                         have been earned or incurred if no physical loss or damage had
                         occurred, but not including any Net Income that would likely
                         have been earned as a result of an increase in the volume of
                         business due to favorable business conditions caused by the
                         impact of the Covered Cause of Loss on customers or on other
                         businesses; and

                      b. Continuing normal operating expenses incurred, including
                         payroll.

               2. Suspension means:

                      a. The partial slowdown or complete cessation of your business
                         activities; and

                      b. That a part or all of the described premises is rendered
                         untenantable, if coverage for Business Income applies.

[Id.].

The Policy defines “period of restoration” as:

“Period of Restoration” means the period of time that:
       a. Begins:

           (1) For Business Income with no hour waiting period after the time of direct
               physical loss or damage caused by or resulting from a Covered Cause of




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                 Loss at the described premises or dependent property unless one of the
                 optional waiting period endorsements is attached to this policy; or

             (2) For Extra Expense immediately after the time of direct physical loss or
                 damage caused by or resulting from a Covered Cause of Loss at the
                 described premises; and

         b. Ends on the earlier of:

             (1) The date when the property at the described premises or dependent property
                 should be repaired, rebuilt or replaced with reasonable speed and similar
                 quality; or

             (2) The date when business is resumed at a new permanent location.


[Id.].

         Finally, the Policy provides for an appraisal process should the parties disagree on the

amount of loss. Specifically, the Policy states:

         2. Appraisal
               If we and you disagree on the amount of loss, either may make written demand for
               an appraisal of the loss. In this event, each party will select a competent and
               impartial appraiser. The two appraisers will select an umpire. If they cannot agree,
               either may request that selection be made by a judge of a court having jurisdiction.
               The appraisers will state separately the amount of loss. If they fail to agree, they
               will submit their differences to the umpire. A decision agreed to by any two will be
               binding. Each party will:

                 a. Pay its chosen appraiser; and

                 b. Bear the other expenses of the appraisal and umpire equally.

         If there is an appraisal, we will still retain our right to deny the claim.
[Id.].

 II.     THE INCIDENT AND CLAIMS

         On or about December 11, 2021, a storm and/or tornado caused damage to portions

building located on the Subject Property. [Exhibit D to SOMF, Aff. of N. Plassman at ¶ 4.] The

Subject Property contains an approximately 6,000 square foot medical facility. [Id. at ¶ 5.] As for




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the interior of the building, the water and wind damaged the insulation, HVAC, ceiling tiles, and

drywall in portions of the building. [Id. at ¶ 6.] The walls needed to be dried out and repainted.

[Id. at ¶ 6.] The flooring in the building was concrete and undamaged. [Id. at ¶ 6.] The items

located inside the front portion of the building suffered damage from debris, water, and wind.

Those items included seats, desks, computers, lab supplies, and medical supplies and Selective

issued payment. [Id. at ¶ 7.] Some of the items in the back portion of the building, which included

x-ray equipment, were largely undamaged and only had dust and light debris covering them. [Id.

at ¶ 8, Exhibit 1.] These items should have been able to be cleaned up and removed from the

Subject Property for storage while repairs were being completed to the building. [See Exhibit A to

SOMF; Request for Admission Nos. 10-11].

       In the days and weeks following the storm, Counter-Defendants failed to mitigate their

damages, including but not limited to, leaving the building and property located inside of the

building open to the elements. [Exhibit D to SOMF, Aff. of N. Plassman at ¶ 9, Exhibit 2; Exhibit

A, Request for Admission No. 11]. Counter-Defendants failed to use reasonable means to protect

the Subject Property and items located inside of the building. [Exhibit A, Request for Admission

No. 5]. Counter-Defendants have admitted that they failed to take reasonable steps to protect the

Subject Property from further loss or damage following the storm. [Exhibit A, Request for

Admission No. 5] Counter-Defendants have admitted that the building, and property located

therein, was left open to the elements following the storm. [Exhibit A, Request for Admission No.

11] Counter-Defendants have likewise admitted that items located inside of the back portion of

the building, namely the x-ray equipment, were not damaged in the storm. [Exhibit A, Request for

Admission No. 10].




                                                9
       Almost immediately following the storm, Counter-Defendants resumed business

operations. [Exhibit E to SOMF, Aff. of Mike Magner at Exhibit A; Exhibit A to SOMF, Request

for Admission No. 8-9]. Medical providers that were previously seeing patients at the Subject

Property began seeing patients at a new, and now permanent, location located at 811 Morrow

Street, Dresden, TN 38225. [Id.]. During the claims investigation process, Selective hired Mike

Magner to evaluate the alleged business income loss claim that Counter-Defendants submitted.

[Exhibit E to SOMF, Aff. of M. Magner at ¶ 3]. During this process, Mr. Magner requested

documentation from Counter-Defendants in order to evaluate the claim. [Id. at ¶ 4]. This

documentation included profit and loss statements, production reports, summaries of total patient

charges and collections, and payroll records. [Id.]. Following his analysis, Mr. Magner determined

that Counter-Defendants did not suffer any lost patient charges and/or lost revenue as a result of

the storm. [Id. at ¶ 8-9, Exhibit A]. Further, Counter-Defendants have admitted that they did not

sustain any actual loss of business income as a result of the storm, that their business income did

not decrease after the storm, that they have no documents to establish a loss of business income

after the storm, and that there was no partial slowdown or complete cessation of business activities

following the storm, all of which was confirmed by Selective’s forensic accountant. [Exhibit A to

SOMF, Request for Admission Nos. 6-9, 14-15].

       On or about May 15, 2022, Counter-Defendants’ public adjuster, William Griffin,

submitted Counter-Defendants’ final statement of loss. [Exhibit D to SOMF, Aff. of N. Plassman

at ¶ 12, Exhibit 3]. Counter-Defendants’ valued the total loss at $2,855,124.08, broken down as

follows: $1,997,670.55 actual cash value for property damage, $247,180 replacement cost value

for business personal property, $12,227.53 businessowners schedule plus, and $598,046 for

business income/extra expense. [Id.].     On May 19, 2022, Selective sent a letter to Counter-




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Defendants’ explaining that their proof of loss was rejected because selective was “not in

agreement with the assessment of damages and the lack of supporting documents.” [Id. at ¶ 13,

Exhibit 4]. At the same time, Selective also provided Counter-Defendants with a revised statement

of loss and settlement letter that outlined Selective’s calculation of the loss following its

investigation. [Id. at ¶ 14, Exhibit 5]. Selective valued the total loss at $800,486.36, broken down

as follows: $719,371.20 actual cash value for property damage, $68,884.63 for business personal

property, and $12,227.53 for businessowners schedule plus. [Id.]. As stated above, Selective’s

expert determined that there was no business income loss. Selective has paid Counter-Defendants

$800,483.36, the full value of the loss as determined by its investigation. [Id. at ¶ 16].

        On July 18, 2022, Counter-Defendants sent a written demand invoking the appraisal

process as outlined in the Policy. [Id. at ¶ 18; Exhibit 6]. Per the process, each party selected their

own appraiser. [See Exhibit C to SOMF]. Counter-Defendants selected Ben Perry and Selective

selected Chris Green. [Exhibit D to SOMF, Aff. of N. Plassman at ¶ 19]. The two appraisers then

began discussions to select an umpire, per the process outlined in the Policy. Counter-Defendants’

appraiser proposed John C. Robinson, Jon Pruitt, Jon Linville, or Matt Dugan to serve as the

umpire. [Id. at ¶ 20.]. Selective’s appraiser proposed Nathan Smith, Ken Abernathy, or Chis

Murphree. [Id. at ¶ 21].     After some discussions, the appraisers were not able to come to an

agreement as to who should serve as the umpire for the appraisal process and Counter-Defendants

initiated this litigation.

                                    STANDARD OF REVIEW

        A party moving for summary judgment must prove that its motion satisfies the

requirements of Rule 56 of the Federal Rules of Civil Procedure. Under Rule 56, summary

judgment is proper “if the pleadings, depositions, answers to interrogatories, and admissions on




                                                  11
file, together with the affidavits, if any, show that there is no genuine issue as to any material fact

and that the moving party is entitled to judgment as a matter of law.” Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986).

       When the party seeking summary judgment makes a properly supported motion under Rule

56, the non-moving party may not rest upon the allegations or denials of its pleadings, but rather

must set forth specific facts at the summary judgment stage showing there is a genuine issue of

material fact for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The non-moving

party may not rely on legal conclusions or the allegations of denials in its pleadings to carry its

burden. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986) (“When the

moving party has carried its burden under Rule 56(c), its opponent must do more than simply show

that there is some metaphysical doubt as to the material facts.”).

       When determining whether a genuine dispute of material fact exists in a particular case,

the court must determine (1) whether the facts at issue are material according to the pertinent

substantive law and (2) whether the dispute over those facts is genuine, or such that a reasonable

jury could return a verdict for the non-moving party. Anderson, 477 U.S. at 247-48. Not every

factual dispute requires a denial of a motion for summary judgment. Id. To warrant denial of a

motion for summary judgment, the factual dispute must be material, in that it must be a fact “that

might affect the outcome of the suit under the governing [substantive] law.” Id.

       “There is no issue for trial unless there is sufficient evidence favoring the nonmoving party

for a jury to return a verdict for that party.” Anderson, 477 U.S. at 249. Summary judgment may

be granted if the evidence is “merely colorable” or “not significantly probative.” Id. In other words,

the non-moving party must “put up or shut up” once the moving party has satisfied its burden.

Street v. J.C. Bradford & Co., 886 F.2d 1472, 1478 (6th Cir. 1989).




                                                  12
                                    LAW AND ARGUMENT

  I.    STANDARD FOR INSURANCE POLICY INTERPRETATION

        In general, courts should construe insurance policies in the same manner as any other

contract. American Justice Ins. Reciprocal v. Hutchison, 15 S.W.3d 811, 814 (Tenn.2000). “An

insurance policy must be interpreted fairly and reasonably, giving the language its usual and

ordinary meaning.” Naifeh v. Valley Forge Life Ins. Co., 204 S.W.3d 758, 768 (Tenn.2006) (citing

Parker v. Provident Life & Acc. Ins. Co., 582 S.W.2d 380, 383 (Tenn. 1979)). The policy language

must be taken and understood in its plain, ordinary, and popular sense. Hutchison, 15 S.W.3d at

814.

 II.    THERE IS NO COVERAGE FOR BUSINESS INCOME LOSSES

        Counter-Defendants’ included in their proof of loss a claim for business income losses.

[Exhibit D to SOMF, Aff. of N. Plassman at Exhibit 3] Count one of Selective’s countercomplaint

seeks a declaration from this Court that there are no business income losses and/or there is no

coverage for Counter-Defendants’ alleged business income losses. [Doc. No. 14].

        In Cont'l Ins. Co. v. DNE Corp., 834 S.W.2d 930 (Tenn.1992), the Tennessee Supreme

Court explained the purpose of business interruption insurance:

        The purpose of business interruption insurance is to protect the insured against
        losses that occur when its operations are unexpectedly interrupted, and to place it
        in the position it would have occupied if the interruption had not occurred. A related
        rule is that a policy of this type may not be used to place the insured in a better
        position than it would have occupied in the absence of the catastrophe.

Id. at 934.

        The Policy at issue specifically states: “We will pay for the actual loss of Business Income

you sustain due to the necessary suspension of your “operations” during the “period of restoration”.

[See Exhibit C to SOMF]. Thus, in order for there to be business income losses and/or coverage




                                                 13
for business income losses, three elements must be met — (1) actual loss of business income, (2)

sustained due to the necessary suspension of operations, and (3) the actual loss must occur during

the period of restoration. In this case, none of these elements are met.

       First, there was no actual loss of Business Income. The Policy defines “Business Income”

as

               Net Income (Net Profit or Loss before income taxes) that would have been
               earned or incurred if no physical loss or damage had occurred, but not
               including any Net Income that would likely have been earned as a result of
               an increase in the volume of business due to favorable business conditions
               caused by the impact of the Covered Cause of Loss on customers or on other
               businesses; and

               Continuing normal operating expenses incurred, including payroll.

       [Id.]. During the claims investigation process, Selective hired Mike Magner to evaluate

the alleged business income loss claim that Counter-Defendants submitted. [Exhibit E to SOMF,

Aff. of M. Magner at ¶ 3]. During this process, Mr. Magner requested documentation from

Counter-Defendants in order to evaluate the claim. [Id. at ¶ 4]. This documentation included profit

and loss statements, production reports, summaries of total patient charges and collections, and

payroll records. [Id.]. Following his analysis, Mr. Magner determined that Counter-Defendants

did not suffer any lost patient charges and/or lost revenue as a result of the storm. [Id. at Exhibit

A].   Further, Counter-Defendants have admitted that they did not sustain any actual loss of

business income as a result of the storm, that their business income did not decrease after the storm,

that they have no documents to establish a loss of business income after the storm, and that there

was no partial slowdown or complete cessation of business activities following the storm, all of

which was confirmed by Selective’s forensic accountant. [Exhibit A to SOMF, Request for

Admission Nos. 6-9, 14-15]. Thus, there was no actual loss of income and therefore no coverage

under the policy for loss of business income.



                                                 14
       Second, even if there was loss of business income (which there was not), there is no

coverage under the Policy because Counter-Defendants did not suspend their business operations.

The Policy defines suspension as “[t]he partial slowdown or complete cessation of your business

activities…” [See Exhibit C to SOMF]. Counter-Defendants have expressly admitted that there

was no partial slowdown or complete cessation of their business activities following the incident.

[Exhibit A to SOMF, Request for Admission Nos. 7]. Counter-Defendants admission is expressly

confirmed by the results of Selective’s forensic accountant, Mike Magner. [See Exhibit E to

SOMF, Aff. of M. Magner]. Thus, because there was no slowdown or cessation of business

activities, there is no coverage for business income losses under the Policy.

       Finally, even if there was loss of business income due to the suspension of Counter-

Defendants’ operations (which there was not), there is no coverage under the policy because

Counter-Defendants almost immediately resumed their business at a new, permanent location

shortly after the storm. The Policy defines “period of restoration” as:

       “Period of Restoration” means the period of time that:

           a. Begins:

           (1) For Business Income with no hour waiting period after the time of direct
               physical loss or damage caused by or resulting from a Covered Cause of
               Loss at the described premises or dependent property unless one of the
               optional waiting period endorsements is attached to this policy; or

           (2) For Extra Expense immediately after the time of direct physical loss or
               damage caused by or resulting from a Covered Cause of Loss at the
               described premises; and

            b. Ends on the earlier of:

           (1) The date when the property at the described premises or dependent property
               should be repaired, rebuilt or replaced with reasonable speed and similar
               quality; or

           (2) The date when business is resumed at a new permanent location.


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[See Exhibit C to SOMF]. Counter-Defendants’ have admitted that they resumed business

operations at 811 Morrow Street, Dresden, Tennessee. [Exhibit A to SOMF, Request for

Admission No. 8]. Counter-Defendants further admitted that 811 Morrow Street is the new

permanent location for the business. [Exhibit A to SOMF, Request for Admission No. 9]. Because

Counter-Defendants resumed their business operations at their new, permanent location shortly

after the storm, the period of restoration ended shortly after the storm.

       As explained above, the purpose of business interruption insurance is to protect the insured

against losses that occur when its operations are unexpectedly interrupted, and to place it in the

position it would have occupied if the interruption had not occurred. DNE Corp., 834 S.W.2d at

934. A policy of this type may not be used to place the insured in a better position than it would

have occupied in the absence of the catastrophe. Id. Because there was no actual loss of business

income and no suspension of Counter-Defendants’ business operations, and because the period of

restoration ended shortly after the storm, there is no coverage for Counter-Defendants’ alleged

business income losses. Any finding to the contrary would put Counter-Defendants in a better

position than it would have occupied absent the storm. Thus, Selective is entitled to summary

judgement on their first claim for declaratory judgment and a declaration from this Court that there

is no coverage for business income losses under the Policy as a matter of law.

III.   COVERAGE FOR BUSINESS AND PERSONAL PROPERTY IS LIMITED BY COUNTER-
       DEFENDANTS’ NEGLECT AND FAILURE TO MITIGATE

       Counter-Defendants’ included in their proof of loss a claim for business personal property

in the amount of $247,180. [Exhibit D to SOMF, Aff. of N. Plassman at Exhibit 3]. Count two of

Selective’s countercomplaint seeks a declaration from this Court that coverage for business




                                                 16
personal property is limited by Counter-Defendants’ neglect and failure to mitigate. [Doc. No.

14].

       The Policy places a duty upon the insured to protect the covered property from further

damage following a covered event. Specifically, the policy states:

       3. Duties In The Event Of Loss Or Damage
              a. You must see that the following are done in the event of loss or damage to
              Covered Property:
                                                   ***
              (4) Take all reasonable steps to protect the Covered Property from further damage,
              and keep a record of your expenses necessary to protect the Covered Property, for
              consideration in the settlement of the claim. This will not increase the Limits of
              Insurance of Section I — Property. However, we will not pay for any subsequent
              loss or damage resulting from a cause of loss that is not a Covered Cause of Loss.
              Also, if feasible, set the damaged property aside and in the best possible order for
              examination.

[See Exhibit C to SOMF]. The Policy likewise contains the following neglect exclusion:

       k. Neglect

           Neglect of an insured to use all reasonable means to save and preserve property
           from further damage at and after the time of loss.

       [Id.]. Counter-Defendants failed to use reasonable means to protect the Subject Property

and items located inside of the building. [Exhibit D, Aff. of N. Plassman at ¶ 9; Exhibit A to

SOMF, Request for Admission No. 5]. Counter-Defendants have admitted that they failed to take

reasonable steps to protect the Subject Property from further loss or damage following the storm.

[Exhibit A, Request for Admission No. 5] Counter-Defendants have admitted that the building,

and property located therein, was left open to the elements following the storm. [Exhibit A,

Request for Admission No. 11] Counter-Defendants have likewise admitted that items located

inside of the back portion of the building, namely the x-ray equipment, were not damaged in the

storm. [Exhibit A, Request for Admission No. 10]. Any alleged damage or loss to this equipment

is a direct result of the Counter-Defendants’ neglect and failure to mitigate and is thus excluded



                                               17
from coverage under the Policy. Thus, Selective is entitled to a declaration from this Court that

Counter-Defendants’ claims for damage to business personal property are excluded from coverage

under the Policy.

IV.    COUNTER-DEFENDANTS ARE NOT ENTITLED TO REPLACEMENT COST VALUE

       Count three of Selective’s countercomplaint seeks a declaration from this Court that

Counter-Defendants are precluded from recovering any additional payments for recoverable

depreciation that they may have been entitled to under a replacement cost value of loss. The Policy

states “You may make a claim for loss or damage covered by this insurance on an actual cash value

basis instead of on a replacement cost basis. In the event you elect to have loss or damage settled

on an actual cash value basis, you may still make a claim on a replacement cost basis if you notify

us of your intent to do so within 180 days after the loss or damage.” [See Exhibit C to SOMF].

The Policy further provides that Selective “will not pay on a replacement cost basis for any loss or

damage: Until the lost or damaged property is actually repaired or re-placed; and Unless the repair

or replacement is made as soon as reasonably possible after the loss or damage.” [Id.].

       In, State Auto. Prop. & Cas. Co. v. There is Hope Cmty. Church ex rel. Blacklock, 2014

WL 2003302, (W.D. Ky. 2014), the District Court analyzed an insurance policy with identical

language. In that case, the insurance company argued that the insured’s actions prevented him

from recovering an additional $64,565.45 as replacement costs because he failed to notify of his

intention to rebuild or replace the property within 180 days. Id. at *4. Additionally, the plaintiff

noted that the insured did not even have future plans to rebuild the building. Id. The District Court

found at the summary judgment stage that the insured was not entitled to recover the RCV funds

because he did not offer any proof that he notified plaintiff of his intent to rebuild within 180 days

as required by the policy and it was undisputed that the building had not been rebuilt. Id.




                                                 18
       In this case, Counter-Defendants have admitted that they made a claim for loss or damage

to the Subject Property on an actual cash value basis. [Exhibit A to SOMF, Request for Admission

No. 1]. Counter-Defendants did not, within 180 days of making the claim for loss or damage,

notify Selective of their intent to make a claim on a replacement cost basis such that they would

be entitled to recoverable depreciation under the Policy. [Exhibit D to SOMF, Aff. of N. Plassman

at ¶ 17; Exhibit A to SOMF, Request for Admission No. 2]. Further, Counter-Defendants have

also admitted that no repairs have been made to the Subject Property and that if they would have

used reasonable speed to repair or replace the building, the building would have been repaired,

rebuilt, or replaced by now. [Exhibit A to SOMF, Request for Admission Nos. 3-4]. Thus,

Counter-Defendants are precluded from recovering any additional payments for recoverable

depreciation that they may have been entitled to under a replacement cost value of loss.

 V.    COUNTER-DEFENDANTS’ BREACHED THE POLICY AND ARE NOT ENTITLED TO THE
       APPRAISAL PROCESS

       Finally, the Policy provides for an appraisal process should the parties disagree on the

amount of loss. Specifically, the Policy states, “If we and you disagree on the amount of loss,

either may make written demand for an appraisal of the loss. In this event, each party will select a

competent and impartial appraiser. The two appraisers will select an umpire. If they cannot agree,

either may request that selection be made by a judge of a court having jurisdiction.” [See Exhibit

C].

       On July 18, 2022, Counter-Defendants sent a written demand invoking the appraisal

process as outlined in the Policy. [Exhibit D to SOMF, Aff. of N. Plassman at ¶ 18, Exhibit 6].

Per the process, each party selected their own appraiser. [See Exhibit C to SOMF]. Counter-

Defendants selected Ben Perry and Selective selected Chris Green. [Exhibit D to SOMF, Aff. of

N. Plassman at ¶ 18, Exhibit 6]. The two appraisers then began discussions to select an umpire,



                                                19
per the process outlined in the Policy. Counter-Defendants’ appraiser proposed John C. Robinson,

Jon Pruitt, Jon Linville, or Matt Dugan to serve as the umpire. Selective’s appraiser proposed

Nathan Smith, Ken Abernathy, or Chis Murphree. [Id. at ¶ 20-21]. After some discussions, the

appraisers were not able to come to an agreement as to who should serve as the umpire for the

appraisal process. As a result, on February 17, 2023, Counter-Defendants filed their Complaint

against Selective in the Chancery Court of Weakley County, Tennessee. In the Complaint, rather

than submitting to the Court the list of umpires proposed by their appraiser, Counter-Defendants

instead provided this Court with a new list of appraisers that it selected. [Exhibit A to SOMF,

Request for Admission No. 13]. Indeed, Counter-Defendants admitted that the list of proposed

umpires in the Complaint was not selected by their appraiser. [Exhibit A to SOMF, Request for

Admission No. 13]. This constitutes a breach of the Policy as the umpire is to be selected by the

appraisers and/or Court, and not by the parties themselves. Because Counter-Defendants have

breached the Policy, they are not entitled to the appraisal process.

                                          CONCLUSION

       Based on the foregoing, Selective respectfully requests that his Court enter summary

judgment in its favor and declare that:

           a. Counter-Defendants have breached the appraisal provisions of the Policy;
           b. there is no coverage under the Policy for Business Income losses;
           c. coverage is limited as to Counter-Defendants’ Business Personal Property Claims
              based on Counter-Defendants’ failure to mitigate and neglect; and
           d. Counter-Defendants have waived their right to seek the Replacement Cost Value
              under the Policy.




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     Respectfully submitted,

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21
                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2023, I electronically filed the foregoing with the
clerk of the court by using CM/ECF system. I further certify that a true and accurate copy of the
foregoing was served upon the following via U.S. Mail, first class, postage prepaid:

Drayton Berkley
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Attorney for Plaintiffs

                                                     /s/ Jeremey R. Goolsby
                                                     Jeremey R. Goolsby




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